 Fill in this information to identify the case:
 Debtor 1
                 Blake L. Mackesy
 Debtor 2

 (Spouse, if filing)

 United States Bankruptcy Court for the: MIDDLE DISTRICT OF PENNSYLVANIA
                                                                   (State)
 Case number 22-00340-MJC



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                            12/15

If the debtor’s plan provides for payment of post-petition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See bankruptcy rule 3002.1


Name of creditor: U.S. Bank National Association, not in                     Court claim no. (if known): 21-1
its individual capacity but solely as trustee for RMTP Trust,
Series 2021 Cottage-TT-V
                                                                             Date of payment change:                       08/01/2024
                                                                             Must be at least 21 days after date
Last four digits of any number you                   9130                    of this notice
use to identify the debtor's account:



                                                                             New total payment:                            $1,686.23
                                                                             Principal, interest, and escrow, if any



 Part 1:         Escrow Account Payment Adjustment
1.    Will there be a change in the debtor's escrow account payment?
        No

      Yes              Attach a copy of the escrow account statement prepared in a form consistent with applicable non-bankruptcy law. Describe
                       the basis for the change. If a statement is not attached, explain why: ___________________________________________
                       __________________________________________________________________________________________________
                       Current escrow payment:        $619.72                         New escrow payment:         $652.59

Part 2:          Mortgage Payment Adjustment
 2.    Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the
       debtor's variable-rate note?
       No
                       Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law. If a notice is not
                       attached, explain why:
       Yes             ____________________________________________________________________________________________
                       Current Interest Rate:                                        New interest rate:
                       Current principal and interest payment:       $                New principal and interest payment:        $
Part 3:          Other Payment Change
 3.    Will there be a change in the debtor's mortgage payment for a reason not listed above?
        No
                       Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
        Yes            agreement. (Court approval may be required before the payment change can take effect)

                       Reason for change: ____________________________________________________________________________

                       Current mortgage payment:         $                             New mortgage payment:           $




Official Form 410S1                                          Notice of Mortgage Payment Change                                                  Page 1

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Debtor 1     Blake L. Mackesy                                                        Case Number (if known)   22-00340-MJC
             First Name                Middle Name         Last Name



Part 4:          Sign Here
 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box
       I am the creditor.
       I am the creditor's authorized agent.

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
 knowledge, information, and reasonable belief.

  /s/ Lauren M. Moyer                                                                 Date    JUNE 21, 2024
     Signature


 Print:                   Lauren M. Moyer                                 Title   Attorney for Creditor
                          First name       Middle Name     Last name

 Company                  Friedman Vartolo LLP

 Address                  1325 Franklin Avenue, Suite 160,
                          Number                Street

                          Garden City            NY        11530
                          City                  State      Zip Code

 Contact phone             (212) 471-5100       Email:     bankruptcy@friedmanvartolo.com




Official Form 410S1                                        Notice of Mortgage Payment Change                                    Page 2




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                                                                         05/17/2024               OUR INFO
                               RETURN SERVICE ONLY                                                ONLINE
                               PLEASE DO NOT SEND MAIL TO THIS ADDRESS
                               PO Box 818060                                                      www.rushmoreservicing.com
                               5801 Postal Road
                               Cleveland, OH 44181

                                                                                                  YOUR INFO
                                                                                                  CASE NUMBER



                                                                                                  LOAN NUMBER
BLAKE L. MACKESY
394 RIDGE AVENUE
                                                                                                  PROPERTY ADDRESS
KINGSTON,PA 18704
                                                                                                  394 RIDGE AVE
                                                                                                  KINGSTON, PA 18704




Dear BLAKE L. MACKESY,

An escrow analysis was performed on the above referenced account.

Our records indicate your loan is currently in an active bankruptcy proceeding. The enclosed escrow account disclosure
statement is for informational purposes only and should not be construed as an attempt to collect a debt.

If you are represented by an attorney in your bankruptcy, please forward a copy of this letter to such attorney and
provide such attorney’s name, address and telephone number to us.

If you have any questions, please call our Bankruptcy Department at 877-888-4623. Our hours of operation are Monday
through Friday from 8 a.m. to 5 p.m. (CT). Visit us on the web at www.rushmoreservicing.com for more information.

Sincerely,

Rushmore Servicing

Enclosure




Rushmore ServicingSM and Mr. Cooper® are brand names for Nationstar Mortgage LLC.
Please be advised this communication is sent for informational purposes only and is not intended as an attempt to
collect, assess, or recover a claim against, or demand payment from, any individual protected by the U.S. Bankruptcy
Code. If this account has been discharged in a bankruptcy proceeding, be advised this communication is for
informational purposes only and not an attempt to collect a debt against you; however, the servicer/lender reserves
the right to exercise the legal rights only against the property securing the loan obligation, including the right to
foreclose its lien under appropriate circumstances. Nothing in this communication shall be construed as an attempt
to collect against the borrower personally or an attempt to revive personal liability.
If you are a successor in interest (received the property from a relative through death, devise, or divorce, and you are not a
borrower on the loan) that has not assumed, or otherwise become obligated on the debt, this communication is for
informational purposes only and is not an attempt to collect a debt from you personally.

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                                                                                  Escrow Account Disclosure Statement
                                RETURN SERVICE ONLY
                                PLEASE DO NOT SEND MAIL TO THIS ADDRESS
                                PO Box 818060
                                5801 Postal Road                                  Customer Service: 877-888-4606
                                Cleveland, OH 44181
                                                                                  Monday through Friday from 7 a.m. to 8 p.m. (CT)


                                                                                  Tax/Insurance: 800-303-2513
                                                                                  Monday through Friday from 8 a.m. to 9 p.m. (ET)


BLAKE L. MACKESY
                                                                                  Statement Date: 05/17/2024
394 RIDGE AVENUE
KINGSTON,PA 18704




      Why am I         Rushmore Servicing completed an analysis of your escrow account to ensure that the account is funded
 receiving this?       correctly, determine any surplus or shortage, and adjust your monthly payment accordingly. Rushmore
                       Servicing may maintain an escrow cushion equal to two months' estimated taxes and insurance (unless limited
                       by your loan documents or state law). This measure helps to avoid negative balance in the event of changing
                       tax and insurance amounts.

What does this         At this time, your Escrow Account has less money than needed and there is a shortage of $0.00. Due to this
 mean for me?          shortage and changes in your taxes and insurance premiums, your monthly escrow payment will increase
                       by $32.87. Effective 08/01/2024, your new total monthly payment** will be $1,686.23.
                                                              Current Monthly                                           New Monthly
 Total Payment                                                                        Payment Changes
                                                                     Payment                                               Payment
 PRINCIPAL AND INTEREST                                               $1,033.64                      $0.00                  $1,033.64
 ESCROW                                                                 $619.72                     $32.87                   $652.59
 Total Payment                                                       $1,653.36                      $32.87                 $1,686.23
 See below for shortage calculation
What is a Shortage? A shortage is the difference between the lowest projected balance of your account for the coming year and
your minimum required balance. To prevent a negative balance, the total annual shortage is divided by 12 months and added to
your monthly escrow payment, as shown below.

               Minimum Required Balance                                                     Lowest Projected Balance
                          $1,061.30                                                                    $1,061.30


                                                            $0.00 / 12 = $0.00
                        Please see the Coming Year Projections table on the back for more details
 Escrow Payment                                         Current Annual                                             Anticipated Annual
                                                                                Annual Change
 Breakdown                                                Disbursement                                                  Disbursement
 SCHOOL TAX                                                     $3,059.54                  $0.00                             $3,059.54
 BOROUGH TAX                                                     $1,401.26                 $0.00                              $1,401.26
 FHAMIP INS                                                      $1,219.40              $243.88                               $1,463.28
 HAZARD SFR                                                     $1,922.00                ($15.00)                            $1,907.00
 Annual Total                                                  $7,602.20                $228.88                              $7,831.08
If you have questions about changes to your property taxes or homeowners’ insurance premiums, please contact your local taxing authority or
insurance provider. For more information about your loan, please sign in at www.rushmoreservicing.com.




Rushmore ServicingSM and Mr. Cooper® are brand names for Nationstar Mortgage LLC.
Please be advised this communication is sent for informational purposes only and is not intended as an attempt to
collect, assess, or recover a claim against, or demand payment from, any individual protected by the U.S. Bankruptcy
Code. If this account has been discharged in a bankruptcy proceeding, be advised this communication is for
informational purposes only and not an attempt to collect a debt against you; however, the servicer/lender reserves
the right to exercise the legal rights only against the property securing the loan obligation, including the right to
foreclose its lien under appropriate circumstances. Nothing in this communication shall be construed as an attempt
to collect against the borrower personally or an attempt to revive personal liability.
If you are a successor in interest (received the property from a relative through death, devise, or divorce, and you are not a
borrower on the loan) that has not assumed, or otherwise become obligated on the debt, this communication is for
informational purposes only and is not an attempt to collect a debt from you personally.




                                           This Area Intentionally Left Blank
                                      This statement is for informational purposes only.




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The change in your escrow payment** may be based on one or more of the following factors:
PAYMENT(S)                                           TAXES                                           INSURANCE
● Monthly payment(s) received were less than         ● Tax rate and/or assessed value changed        ● Premium changed
   or greater than expected                          ● Exemption status lost or changed              ● Coverage changed
● Monthly payment(s) received earlier or later       ● Supplemental/Delinquent tax paid              ● Additional premium paid
   than expected                                     ● Paid earlier or later than expected           ● Paid earlier or later than expected
● Previous overage returned to escrow                ● Tax installment not paid                      ● Premium was not paid
● Previous deﬁciency/shortage not paid entirely      ● Tax refund received                           ● Premium refund received
                                                     ● New tax escrow requirement paid               ● New insurance escrow requirement paid
                                                                                                     ● Force placed insurance premium paid

                                     Prior Year Account History and Coming Year Projections
This is a statement of the actual activity in your escrow account from 09/23 through 07/24. This statement itemizes your actual
escrow account transactions since your previous analysis statement or initial disclosure, and projects payments,
disbursements, and balances for the coming year. The projections from your previous escrow analysis are included with the actual
payments and disbursements for the prior year. By comparing the actual escrow payment with the previous projections listed, you
can determine where a difference may have occurred. When applicable, the letter 'E' beside an amount indicates that a payment or
disbursement has not yet occurred but is estimated to occur as shown.
Projections are included to ensure sufﬁcient funds are available to pay your taxes and/or insurance for the coming year.Under
Federal Law (RESPA), the lowest monthly balance in your escrow account should be no less than $1,061.30 or 1/6th of the total annual
projected disbursement from your escrow account, unless your mortgage documents or state law speciﬁes otherwise. Your projected
estimated lowest account balance of $1,061.30 will be reached in September 2024. When subtracted from your minimum required
balance of $1,061.30, an Escrow Shortage results in the amount of $0.00. These amounts are indicated with an arrow (<).
This escrow analysis is based on the assumption that all escrow advances made on your loan prior to your bankruptcy ﬁling
date are included in your bankruptcy plan and will be paid in the plan. This analysis considers insurance, taxes and other
amounts that will come due after the ﬁling of your bankruptcy case.

          Projected       Actual          Projected               Actual                     Description               Projected          Actual
Month     Payment        Payment        Disbursement          Disbursement                                              Balance          Balance
                                                                                                 Start                     $0.00               $0.00
 09/23       $0.00         $581.58                  $0.00          $21,384.71* *              Esc pay adj                    $0.00      ($20,803.13)
 09/23       $0.00          $0.00                   $0.00             $121.94* *              FHAMIP INS                     $0.00     ($20,925.07)
 09/23       $0.00          $0.00                   $0.00          $3,059.54*  *             SCHOOL TAX                      $0.00     ($23,984.61)
 10/23       $0.00         $581.58                  $0.00             $121.94* *              FHAMIP INS                     $0.00     ($23,524.97)
 11/23       $0.00         $1,163.16                $0.00             $121.94* *              FHAMIP INS                     $0.00     ($22,483.75)
 11/23       $0.00        $2,223.06                 $0.00              $15.00* *       Esc deposit/HAZARD SFR                $0.00     ($20,275.69)
 12/23       $0.00         $581.58                  $0.00             $121.94* *              FHAMIP INS                     $0.00       ($19,816.05)
 12/23       $0.00        $1,405.66*                $0.00               $0.00                 Esc deposit                    $0.00       ($18,410.39)
 01/24       $0.00        $1,405.67                 $0.00             $121.94* *        Esc deposit/FHAMIP INS               $0.00       ($17,126.66)
 02/24       $0.00         $581.58                  $0.00             $121.94* *              FHAMIP INS                     $0.00      ($16,667.02)
 02/24       $0.00       $1,405.67*                 $0.00               $0.00                 Esc deposit                    $0.00        ($15,261.35)
 03/24       $0.00         $1,163.16                $0.00             $121.94* *              FHAMIP INS                     $0.00       ($14,220.13)
 03/24       $0.00       $1,405.67*                 $0.00               $0.00                 Esc deposit                    $0.00      ($12,814.46)
 04/24       $0.00         $613.55                  $0.00           $1,401.26* *            BOROUGH TAX                      $0.00       ($13,602.17)
 04/24       $0.00        $1,405.66                 $0.00             $121.94* *        Esc deposit/FHAMIP INS               $0.00       ($12,318.45)
 05/24       $0.00       $16,051.02E                $0.00               $0.00      Anticipated Payments 04/22-05/24          $0.00          $3,732.57
 05/24       $0.00          $0.00                   $0.00          $1,907.00*  *             HAZARD SFR                      $0.00          $1,825.57
 06/24       $0.00         $619.72                  $0.00            $121.94E E               FHAMIP INS                     $0.00          $2,323.35
 07/24       $0.00         $619.72                  $0.00            $121.94E E               FHAMIP INS                     $0.00           $2,821.13
 Total         $0.00    $31,808.04                  $0.00          $28,986.91                    Total                       $0.00          $2,821.13
          Projected                       Projected                                                                      Current       Required
          Payment                       Disbursement                                         Description                 Balance        Balance
Month                                                                                                                                  Projected
                                                                                                 Start                   $2,821.13        $2,821.13
 08/24       $652.59                                $121.94                                   FHAMIP INS                   $3,351.78       $3,351.78
 08/24        $238.41                                $0.00                                      BK ADJ                    $3,590.19       $3,590.19
 09/24       $652.59                                $121.94                                   FHAMIP INS                  $4,120.84       $4,120.84
 09/24         $0.00                             $3,059.54                                    SCHOOL TAX                   $1,061.30      $1,061.30<
 10/24       $652.59                                $121.94                                   FHAMIP INS                   $1,591.95       $1,591.95
 11/24       $652.59                                $121.94                                   FHAMIP INS                  $2,122.60       $2,122.60
 12/24       $652.59                                $121.94                                   FHAMIP INS                  $2,653.25       $2,653.25
 01/25       $652.59                                $121.94                                   FHAMIP INS                  $3,183.90       $3,183.90
 02/25       $652.59                                $121.94                                   FHAMIP INS                  $3,714.55       $3,714.55
 03/25       $652.59                              $1,401.26                                  BOROUGH TAX                 $2,965.88       $2,965.88
 03/25         $0.00                                $121.94                                   FHAMIP INS                 $2,843.94       $2,843.94
 04/25       $652.59                                $121.94                                   FHAMIP INS                  $3,374.59       $3,374.59
 05/25       $652.59                                $121.94                                   FHAMIP INS                  $3,905.24       $3,905.24
 05/25         $0.00                             $1,907.00                                    HAZARD SFR                  $1,998.24       $1,998.24
 06/25       $652.59                                $121.94                                   FHAMIP INS                 $2,528.89       $2,528.89
 07/25       $652.59                                $121.94                                   FHAMIP INS                 $3,059.54       $3,059.54
 Total     $8,069.49                             $7,831.08                                       Total                   $3,059.54       $3,059.54

Bankruptcy Adjustment- The Prior Year Account History and Coming Year Projections section of the Annual Escrow Account
Disclosure Statement may contain a line item called "Bankruptcy Adjustment". This amount is a credit based upon the unpaid portion
of the escrow funds listed on the proof of claim to be paid through the Chapter 13 plan. The amount of the credit is calculated and
applied to reach the minimum required balance for the escrow account as allowed under the loan documents and applicable
non-bankruptcy law. The credit may not represent the total outstanding amount of escrow funds owed in the proof of claim but
ensures that any escrow funds listed on the proof of claim to be paid through the plan will not be collected through the escrow
shortage or surplus listed in the Annual Escrow Account Disclosure Statement. In some instances, only a portion of the proof of or
surplus listed in the Annual Escrow Account Disclosure Statement. In some instances, only a portion of the proof of claim escrow
funds are listed as a credit to reach the required minimum account balance.
You will receive an Annual Escrow Account Disclosure Statement reﬂecting the actual disbursements at the end of the next escrow
analysis cycle. However, you should keep this statement for your own records for comparison. If a previous escrow analysis statement
was sent to you by your previous servicer, please refer to that statement for comparison purposes. If you have any questions, please
call Tobey Scott at (877)-888-4623. Our hours of operation are Monday through Friday from 8 a.m. to 5 p.m. (CT). Visit us on the web at
www.rushmoreservicing.com for more information.
Note: Any disbursements listed after the date of this statement are assumed to be projected or estimated.




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                               UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF PENNYSLVANIA
-------------------------------------------------------------------X
                                                                   :
  IN RE:                                                           : CASE NO.: 22-00340-MJC
                                                                   :
          Blake L. Mackesy,                                        : CHAPTER: 13
                                                                   :
   Debtor(s)                                                       : HON. JUDGE.: Mark J Conway
                                                                   :
                                                                   :
-------------------------------------------------------------------X

                                       CERTIFICATE OF SERVICE

               JUNE 21, 2024
          On _________________, I,            Lauren Moyer, Esq        , caused to be served a true copy of

 the annexed NOTICE OF PAYMENT CHANGE by mailing the same by First Class Mail in

 a sealed envelope, with postage prepaid thereon, in a post office or official depository

 of the U.S. Postal Service addressed to the last known address of the addressee, and the

 property address as indicated on the attached Service List annexed hereto.




                                                               By: /s/ Lauren Moyer, Esq
                                                               FRIEDMAN VARTOLO LLP
                                                               1325 Franklin Avenue, Suite 160
                                                               Garden City, New York
                                                               11530 T: (212) 471-5100
                                                               F: (212) 471-5150




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                                  SERVICE LIST

BLAKE L. MACKESY
394 Ridge Avenue
Kingston, PA 18704
Debtor

MICHAEL A. CIBIK
Cibik Law, P.C.
1500 Walnut Street
Suite 900
Philadelphia, PA 19102
Debtor’s Attorney

JACK N ZAHAROPOULOS
STANDING CHAPTER 13
8125 Adams Drive, Suite A
Hummelstown, PA 17036
Trustee

UNITED STATES TRUSTEE
US Courthouse
1501 N. 6th St
Harrisburg, PA 17102
U.S. Trustee




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